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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
  NICOLAS TALBOTT, ERICA VANDAL, KATE                      )
  COLE, GORDON HERRERO, DANY                               )
  DANRIDGE, JAMIE HASH, KODA NATURE,                       )
  and CAEL NEARY,                                          )
                                                           )
                         Plaintiffs,                       )
                                                           )
  v.                                                       )
                                                           )
  DONALD J. TRUMP, in his official capacity as             )
  President of the United States; the UNITED               )
  STATES OF AMERICA; PETER B. HEGSETH,                     )       Civil Action No. 1:25-cv-00240
  in his official capacity as Secretary of Defense;        )
  MARK AVERILL, in his official capacity as                )
  Acting Secretary of the Army; the UNITED                 )
  STATES DEPARTMENT OF THE ARMY;                           )
  TERENCE EMMERT, in his official capacity as              )
  Acting Secretary of the Navy; the UNITED                 )
  STATES DEPARTMENT OF THE NAVY;                           )
  GARY ASHWORTH, in his official capacity as               )
  Acting Secretary of the Air Force; the UNITED            )
  STATES DEPARTMENT OF THE AIR FORCE;                      )
  TELITA CROSLAND, in her official capacity as             )
  Director of the Defense Health Agency; and the           )
  DEFENSE HEALTH AGENCY,                                   )
                                                           )
                    Defendants.                            )
  ________________________________________

                         DECLARATION OF NICOLAS TALBOTT

I, Nicolas Talbott, declare as follows:

   1. I am a thirty-one-year-old Second Lieutenant in the United States Army Reserve stationed

        in Pennsylvania. I have been serving the United States honorably for almost a year. I am

        transgender.

                                 CURRENT MILITARY ROLE

   2. In my current role as Platoon Leader for the Military Policing Unit, I am responsible for

        leading a platoon of soldiers, overseeing their training, discipline, welfare, and overall
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   performance during battle assemblies and annual trainings. My duties include mission

   planning, task assignment, and ensuring that soldiers are executing their tasks and orders

   effectively.

3. I am scheduled to begin the Military Police Basic Officer Leadership Course in August

   2025 to learn how to be a better and more effective leader in this role. Upon completion

   of this training in December 2025, I will be able to perform duties specific to my Military

   Policing Unit.

     BACKGROUND ON MILITARY SERVICE AND COMMENDATIONS

4. In March 2024, I took my enlistment oath and began the career I have always dreamed of

   and worked towards for nearly ten years.

5. I attended basic training from July 2024 to October 2024. I was nominated for and named

   Honor Graduate at basic combat training by my drill sergeants for stepping up to leadership

   roles in training and exemplifying the Army’s values of leadership, duty, respect, selfless

   service, honor, integrity, and personal courage.

6. I completed Officer Candidate School in January 2025 and was able to earn my

   commission as an Officer of the Army Reserve.

            EXPERIENCE AS TRANSGENDER SERVICE MEMBER

7. I have known that I was transgender from a young age, though I did not have the words to

   describe myself in this way until I was around twelve years old. At the time, I lived in a

   small town and feared how others would react to me being transgender.

8. When I was sixteen, I found the courage to tell my mother that I was transgender. In March

   2011, I received a diagnosis of gender dysphoria from a medical professional. Once I

   turned eighteen, around 2012, I began hormone replacement therapy.



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    9. The military was always something I had dreamed of pursuing, but I thought that being

        transgender would prohibit me from ever achieving that dream. I decided to instead attend

        college and enrolled in Kent State University in 2012.

    10. In 2015, while enrolled in a course covering intelligence and counterterrorism studies, I

        met a professor who encouraged me to pursue my dream of serving in the military despite

        a policy at the time prohibiting enlistment by transgender individuals. In 2015, the policy

        changed to permit service by transgender individuals. I graduated from Kent State

        University with a Bachelor of Arts in Sociology shortly thereafter.

    11. In 2016, I found a military recruiter who worked with me to begin the enlistment process.

        Throughout 2017 and into 2018, my recruiter and I worked to complete all the necessary

        paperwork for the Military Entrance Processing Station (MEPS). Unfortunately, while I

        was working to complete and revise my application packet, a new ban on service by

        transgender individuals was announced. 1 Following this, my recruiter advised that he

        would no longer be able to process my application to join the military via the MEPS

        process.

    12. The same day, I went to Kent State University to speak with a Reserve Officers’ Training

        Corps (ROTC) recruiter to pursue an alternative path to commission. The ROTC recruiter

        informed me that ROTC was typically a four-year program, but that I could complete it in

        three years were I to attend a summer training camp after my first year of enrollment. As

        I was already planning to pursue a two-year master’s program, I decided to enroll in an

        additional year of undergraduate studies to be eligible for ROTC and join the military

        through commissioning.


1
 I was involved in prior litigation challenging the prior ban. See generally Stockman v. Trump, No. 17-CV-01799
(C.D. Cal. Sept. 5, 2017).

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13. During this time, I was also working as a substitute teacher and taking care of a sick family

   member.      Although going back to university would require balancing these other

   obligations with schooling and an additional financial strain in the form of student loans, I

   was determined to do everything within my power to improve my chances of

   commissioning. For example, in addition to commuting an hour and a half each way for

   non-mandatory physical fitness training, I also volunteered for extra duties to demonstrate

   my dedication to the program.

14. In 2019, I learned that transgender individuals were going to be prohibited from joining

   the military. I asked my ROTC commander to allow me to contract early to avoid this

   prohibition from affecting me. Unfortunately, he was unwilling to do so.

15. In 2019, I completed the Spring semester of my ROTC program, but was unable to continue

   with the program in the fall as I was still prohibited from joining the military based on my

   transgender status.

16. In July 2020 and July 2021, I had two separate gender transition surgeries. Fortunately,

   once my eighteen-month waiting period ended in January 2023, there was a new policy

   permitting service and enlistment by transgender individuals. I began the lengthy process

   of enlistment, including finding a recruiter to work with, completing physical fitness tests,

   and finalizing the necessary paperwork.

17. In January 2024, I submitted my application and was approved in March 2024. After years

   of fighting to realize my dream of military service, I took my enlistment oath and was

   finally able to start serving my country.

18. Since joining the Army Reserve and completing Officer Candidate School, I have worked

   with individuals from all walks of life to learn to become soldiers together. I have been



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   able to participate in, and succeed in, every basic training and Officer Candidate School

   event. In each military setting I have worked in so far—basic training, Officer Candidate

   School, and my Reserve unit—I have been open about my transgender status and have felt

   welcomed by my peers and supervisors.

                                   IMPACT OF BAN

19. Serving in the United States Armed Forces is not only my career—it is a passion that I

   have been pursuing and a goal I have been working towards for almost a decade. To be

   prohibited from continuing to serve, not even a year after achieving my dream and earning

   my commission, would be a devastating loss for myself and for the United States Army.

20. I would not only lose my source of income, but also access to my health insurance and the

   numerous other benefits afforded to military members.

21. I plan on transitioning to active duty within the next year, after completing my Basic

   Officer Leadership Course, because I am eager to be as involved as possible and utilize my

   education and skillset to the military’s benefit. As there is a lengthy approval process as

   my unit would need to fill the gap I leave behind, I would also be happy to serve my full

   six-year Reserve term and my two-year Ready Reserve if that were to best suit the Army’s

   needs.

22. I do not want to lose a career that I am capable and willing to devote my life to based on

   my transgender status rather than my merit. I joined the military to serve my country

   honorably and with distinction. I plan to continue doing so far as long as I am able.




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                  I declare under penalty of perjury that the foregoing is true and correct




Dated: 3 Feb. 2@:i.s
                                              Nicolas Talbott




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